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6
                                UNITED STATES DISTRICT COURT
7
8                           CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
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10
     UNITED STATES OF AMERICA,                    Case No. 19-cr-00343-GW-1
11
                   Plaintiff,                     DEFENDANTS’ JOINT MOTION TO
12                                                DISMISS THE INDICTMENT PER
            v.                                    FED. R. CRIM. P. 12(b)(3)(A);
13                                                EXHIBIT IN SUPPORT
     TRAVIS SCHLOTTERBECK
14                                                DATE: July 11, 2022
                   Defendant.                     TIME: 8:30 AM
15                                                Courtroom of the
                                                  Honorable George H. Wu
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1                                       INTRODUCTION
2          Mr. Schlotterbeck and Mr. Vhla are charged in a three-count indictment alleging
3    that they conspired with each other and others to manufacture firearms without the
4    appropriate federal firearms license. They are also charged with the substantive count
5    of manufacturing five firearms for profit without the appropriate federal firearms
6    license in violation of 18 U.S.C. §§ 371 and 922(a)(1)(A). The indictment alleges that
7    the defendants aided and abetted each other and alleged co-conspirators in the
8    substantive count of manufacturing firearms without a license. (See Doc. 1, Count 2.)
9    Finally, Mr. Schlotterbeck is charged in count 3 with selling a firearm to a prohibited
10   person in violation of 18 U.S.C. §922(d).
11         On June 23, 2022, the United States Supreme Court issued the landmark opinion
12   in New York State Rifle and Pistol Assn v. Bruen, 597 U.S. __ (2022). This opinions
13   new application of the textual and historical text in determining what government
14   regulations run afoul with the Second Amendment established a sea change on the law
15   concerning Second Amendment claims.
16         The means-end strict scrutiny approach to determining whether a government
17   regulation was constitutional under the Second Amendment has been abandoned. It has
18   been replaced with a text and history analysis. Bruen, 597 U.S. at 10. Under the Bruen
19   case, in all analysis of a Second Amendment claim, like this one to dismiss the charges
20   in the indictment, it is presumed that “[the] individual’s conduct” is constitutionally
21   protected. Id. at 8. In order to justify government regulation, like the ones in the
22   indictment concerning manufacturing firearms without a license for profit and selling a
23   firearm to a felon, it is no longer constitutional even if that “regulation promotes an
24   important interest.” Now, “the government must demonstrate that the regulation is
25   consistent with this Nation’s historical tradition of firearm regulation. Only if a firearm
26   regulation is consistent with this Nation’s historical tradition may a court conclude that
27   the individual’s conduct falls outside the Second Amendment’s” unqualified right to
28   possess a firearm. Id. With respect to counts one and two, the government cannot meet
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1    its heavy burden to establish that Mr. Schlotterbeck and Mr. Vlha’s conduct would be
2    subject to regulation at the time of the ratification of the Second Amendment.
3          Additionally, concerning count three in this case, Mr. Schlotterbeck is charged
4    with violating 18 U.S.C. § 922(b)(1)—sale of a firearm to a felon. The statute
5    criminalizing this behavior only defines the felony, rendering the purchaser a prohibited
6    person thereby criminalizing the sale, as a term of imprisonment exceeding one-year.
7    As will be set forth below, the government cannot carry its heavy burden establishing
8    that the sale to all felons, regardless of the nature of the offense, is consistent with
9    regulations on the right to possess a firearm at the time of the ratification of the Second
10   Amendment. Thus, for these reasons, and those set forth below, the indictment must be
11   dismissed.
12                                          ARGUMENT
13   I.    THE INDICTMENT MUST BE DISMISSED AS THE CHARGES IN
14         THE INDICTMENT RUN AFOUL OF THE SECOND AMENDMENT
15         It hardly needs to be said that agreeing with, causing, or transacting with another
16   in legal and constitutionally protected conduct is not a crime. The allegation in count
17   three of the indictment against Mr. Schlotterbeck is premised on the requirement that
18   the purchaser of the weapon in count three was a “prohibited person” under 18 U.S.C. §
19   922(g) and therefore was unable to exercise his Second Amendment right to possess a
20   firearm. This now outdated interpretation of the Second Amendment and the statutes
21   blanket prohibition on felons has now been rendered unconstitutional.
22         Concerning counts one and two, manufacturing a firearm to sell for profit was
23   not regulated conduct at the time of the ratification of the Second Amendment. To
24   criminalize that conduct as a necessary means to protect the public runs afoul of the
25   text of the Second Amendment, is not supported by historical analysis concerning the
26   time of the ratification and is now the waste product of the abandoned means-end
27   testing concerning the right to bear arms.
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1                  Legal Standard
2          As stated above, the Bruen court rejected the two-step means-end scrutiny test
3    and adopted a new two-step, burden-shifting approach that is concerned only with “text
4    and history.” Bruen, 597 U.S. at 10. At step one, courts ask whether “the Second
5    Amendment’s plain text covers an individual’s conduct.” If it does, then “the
6    Constitution presumptively protects that conduct.” Id. at 14-15. At step two, the burden
7    shifts to the government to “justify its regulation by demonstrating that it is consistent
8    with the Nation’s historical tradition of firearm regulation.” Id. at 15.
9          In meeting its burden, the government must show that in 1791, when the Second
10   Amendment was enacted, there was a robust tradition of regulations that are “relevantly
11   similar” to the challenged statute. Courts may look to “historical precedent from before,
12   during, and even after the founding” to determine whether a particular category of
13   firearm regulation was understood to be permissible when the Second Amendment was
14   ratified. But the farther back or forward you go from 1791, the less relevant that
15   precedent becomes, especially if it “contradicts” evidence from the period immediately
16   surrounding 1791. As set forth in Bruen, “not all history is created equal[,]
17   ‘[c]onstitutional rights are enshrined with the scope they were understood to have when
18   the people adopted them.’” Id. at 25; citing District of Columbia v. Heller, 554 U.S.
19   570, 634-635 (2008) (emphasis in original). If “multiple plausible interpretations” of a
20   particular historical source are presented to the court, the court must “favor the one that
21   is more consistent with the Second Amendment’s commandment.” Bruen, 597 U.S. at
22   35, fn. 11.
23                 Count Three
24         With respect to Mr. Schlotterbeck and count three, the indictment alleges an
25   unconstitutional criminal regulation of Mr. Schlotterbeck’s conduct. In full recognition
26   of Bruen’s command that the government must bear the burden of proving that this
27   regulation does not run afoul of the Second Amendment, under the new analysis,
28   attached as an exhibit, is then Judge now Justice Amy Comey Barrett’s dissenting
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1    opinion in the case of Kanter v. Barr, 919 F.3d 437 (7th Cir. 2019). In that case, then
2    Judge Barrett meticulously analyzes the history of regulating a felon’s right to possess a
3    firearm. Justice Barrett concludes in her dissent that the felon in possession charge set
4    forth in 922(g)(1) violates the Second Amendment. The majority opinion upholding the
5    constitutionality of the transcendent definition of felons in 922(g) has been abrogated
6    by the Bruen decision.
7          Benefiting from Justice Barrett’s detailed analysis, the government will not be
8    able to meet its burden of proof and production. The statute in count three on its face
9    fails the textual and historical analysis, and as applied to Mr. Schlotterbeck,
10   criminalizes an otherwise constitutional transaction. There was no indication that the
11   felon reference in the indictment was dangerous or “a threat to the public safety.”
12   Kanter, 919 F.3d at 458 (Barrett, J., dissenting.) On its face and as applied, the
13   allegation in count three violates the Second Amendment and must be dismissed.
14               Counts One and Two
15         With respect to counts one and two, the indictment alleges an unconstitutional
16   criminal regulation of both Mr. Schlotterbeck’s and Mr. Vlha’s conduct. Like count
17   three, the government will not be able to meets its burden of proving that this
18   regulation—unlicensed manufacturing of firearms for profit—does not run afoul of the
19   Second Amendment.
20         At the time of the ratification of the Second Amendment, regulations on the
21   manufacturing of firearms among the states were almost non-existent. See Exhibit B.
22   There were no federal laws or regulations restricting the manufacturing of firearms
23   until 1934, nearly 150-years after the ratification of the Second Amendment. This
24   regulation, the National Firearms Act of 1934, however, only applied to automatic
25   firearms and did not impose a licensing requirement on the manufacture, sale and
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1    transfer, rather it merely imposed a federal tax. See Exhibit C. The Federal Firearms
2    Act of 1938 was the first federal regulation imposing a license requirement on firearm
3    manufacturers.1 Id.
4          As such, the statutes in counts one and two on their faces fail the textual and
5    historical analysis and as applied to Mr. Schlotterbeck and Mr. Vlha, criminalize
6    otherwise constitutionally protected conduct. On their faces and as applied, the
7    allegations in counts one and two violate the Second Amendment and must be
8    dismissed.2
9                                       CONCLUSION
10        For the foregoing reasons, Mr. Schlotterbeck and Mr. Vlha request that this
11    Court dismiss the indictment against both defendants. In the alternative, defendants
12    request that this court stay the proceedings pending further development in the law.
13                                          Respectfully submitted,
14
15
     DATED: July 1, 2022                 By /s/ Edward M. Robinson
16                                         Edward M. Robinson
                                           Brian A. Robinson
17                                         Attorney for Defendant
                                           Travis Schlotterbeck
18
19                                          By /s/ Jerome J Haig
20                                          Jerome J Haig
                                            Attorney for Defendant
21                                          James Bradley Vlha
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25         1
              As stated in the Bruen opinion, “not all history is created equal.” Bruen, 597
26   U.S. at 25. The historical analysis must focus on the time period of the ratification of
     the Second Amendment.
27          2
              While Justice Kavanaugh’s concurrence argues that this new interpretation does
     not affect licensing regulations, for obvious reasons this position was not adopted in the
28   majority opinion and is thus not the law of the land.
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